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                                                                                  United States Courts
                                                                                Southern District of Texas
                                                                                         FILED
                                                                                     March 03, 2021
                                UNITED STATES DISTRICT COURT                  Nathan Ochsner, Clerk of Court
                                 SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION


UNITED STATES OF AMERICA                               §
                                                       §
v.                                                     §    CASE NO. 4:21-cr-0006-S1
                                                       §
CHRISTOPHER GABLE aka JOHN DOE 1                       §
JOHN ALLEN RICHARDSON aka                              §
JOHN DOE 2                                             §
DANIEL WEIGERT                                         §

                          SUPERSEDING CRIMINAL INDICTMENT


THE GRAND JURY CHARGES THAT:

                                         INTRODUCTION

       At all times material to this Indictment:

1.     The term “minor” is defined, pursuant to Title 18, United States Code, Section 2256(1), as

“any person under the age of eighteen years.”

2.     The term “child pornography,” for purposes of this Indictment, is defined, pursuant to Title 18,

United States Code, Section 2256(8)(A), as:

       “any visual depiction, including any photograph, film, video, picture, or computer or
       computer-generated image or picture, whether made or produced by electronic, mechanical, or
       other means, of sexually explicit conduct, where -

       (A) the production of such visual depiction involves the use of a minor engaged in sexually
           explicit conduct. “

3.     The term “sexually explicit conduct” is defined, pursuant to Title 18, United States Code,

Section 2256(2)(A), as any:

       “actual or simulated -


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               (i)     sexual intercourse, including genital [to] genital, oral [to] genital, anal [to]
               genital, or oral [to] anal, whether between persons of the same or opposite sex; [or]
               (ii)    bestiality; [or]
               (iii) masturbation; [or]
               (iv)    sadistic or masochistic abuse; or
               (v)     [the] lascivious exhibition of the genitals, or pubic area of any person.”

4.     The term “computer” is defined, pursuant to Title 18, United States Code, Sections 2256(6)

and 1030(e)(1), as any:

       “electronic, magnetic, optical, electrochemical, or other high speed data processing device
       performing logical, arithmetic, or storage functions, and includes any data storage facility or
       communications facility directly related to or operating in conjunction with such device, but
       such term does not include an automated typewriter or typesetter, a portable handheld
       calculator or other similar device.”

5.     The term “visual depiction” is defined, pursuant to Title 18, United States Code, Section

2256(5), as including, but is not limited to, any:

       “undeveloped film and videotape, and data stored on computer disk or by electronic means
       which is capable of conversion into a visual image.”


                                         COUNT ONE
                    (Conspiracy to Receive and Distribute Child Pornography)

       From a date unknown to the Grand Jury but beginning no later than on or about July 27, 2018,

through at least on or about December 28, 2020, within the Southern District of Texas and elsewhere,

                            CHRISTOPHER GABLE aka JOHN DOE 1
                          JOHN ALLEN RICHARDSON aka JOHN DOE 2
                                          and
                                    DANIEL WEIGERT,

defendants herein, and others known and unknown to the Grand Jury, did knowingly conspire with

each other, and with others known and unknown to the Grand Jury, to receive and distribute: (1) any

child pornography using any means and facility of interstate and foreign commerce and that has been


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mailed, and has been shipped and transported in and affecting interstate and foreign commerce by any

means, including by computer; and (2) any material that contains child pornography using any means

and facility of interstate and foreign commerce and that has been mailed, and has been shipped and

transported in and affecting interstate and foreign commerce by any means, including by computer.

       In violation of Title 18, United States Code, Section 2252A(a)(2) and Section

2252A(b)(1).

                                         COUNT TWO
                          (Conspiracy to Advertise Child Pornography)

       From a date unknown to the Grand Jury but beginning no later than on or about July 27, 2018,

through at least on or about December 28, 2020, within the Southern District of Texas and elsewhere,

                         CHRISTOPHER GABLE aka JOHN DOE 1
                       JOHN ALLEN RICHARDSON aka JOHN DOE 2
                                       and
                                 DANIEL WEIGERT,

defendants herein, and others known and unknown to the Grand Jury, did knowingly conspire with

each other, and with others known and unknown to the Grand Jury, to make, print and publish, and

cause to be made, printed and published, any notice and advertisement seeking and offering to receive,

exchange, buy, produce, display, distribute and reproduce, any visual depiction, the production of

which visual depiction involved the use of a minor engaging in sexually explicit conduct and such

visual depiction was of such conduct; knowing and having reason to know that such notice and

advertisement would be transported using any means and facility of interstate and foreign commerce

and in and affecting interstate and foreign commerce by any means, including by computer, and such

notice and advertisement was transported using any means and facility of interstate and foreign




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commerce and in and affecting interstate and foreign commerce by any means, including by computer.

       In violation of Title 18, United States Code, Section 2251(d) and (e).


                                          COUNT THREE
                              (Penalties for Registered Sex Offenders)

       From a date unknown to the Grand Jury but beginning no later than on or about July 27, 2018,

through on or about January 19, 2021, within the Southern District of Texas and elsewhere,

                         JOHN ALLEN RICHARDSON aka John Doe 2,

defendant herein, being an individual who is required by Federal or other law to register as a sex

offender, did commit a felony offense involving a minor under Title 18, United States Code, Section

2251, as charged in Count Two of this Indictment.

       In violation of Title 18 United States Code Section 2260A.


                                        NOTICE OF FORFEITURE
                                           18 U.S.C. § 2253(a)

       Pursuant to Title 18, United States Code, Section 2253(a)(2) and (a)(3), the United States gives

the defendants notice that in the event of conviction for the offense charged in Counts One and Two

of the Indictment, the United States will seek to forfeit all property, real and personal, constituting or

traceable to gross profits or other proceeds obtained from the offense charged in Counts One and Two;

and all property, real and personal, used or intended to be used to commit or to promote the

commission of the offense charged in Counts One and Two, or any property traceable to such property,

including, but not limited to, the following:

       a MSI Laptop with S/N:K1811N0032843;



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      an Adrus Desktop with S/N: 7NJ6QAQ;

      a Samsung S8 cellular phone with IMEI: 357712082114645;

      an HP Laptop with S/N: S1Z2LEXL;

      a Dell Dimension with S/N: 34B68C1;

      an Acer Z8A Laptop with S/N: NXMRUAA002452078217600;

      an Hackley Public Library 4GB Thumb Drive;

      an HP Slim Desktop with S/N: 2MO94231X7;

      a Purple Kingston 4GB Thumb drive;

      an Ultra External USB Drive with S/N: WCC3F4PF7625;

      a Samsung Galaxy S8 with S/N IMEI# 357712082114645;

      a Lian Li Desktop; and

      a Western Digital My Passport External Hard Drive with S/N: WX91A80N6846T.



                                                     A True Bill:

                                                         Original Signature on File
                                                     __________________________
                                                     Grand Jury Foreperson



      JENNIFER B. LOWERY
      Acting United States Attorney


By:   ___________________________
      Kimberly Ann Leo
      Assistant United States Attorney
      713-567-9465


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